      Case: 1:18-cv-07003 Document #: 1 Filed: 10/18/18 Page 1 of 10 PageID #:1




                    IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION



BOOKER T. FLOWERS,                             )
                                               )
                       Plaintiff,              )
                                               )
               v.                              )       Case No.
                                               )
CITY OF CHICAGO d/b/a CHICAGO                  )
DEPARTMENT OF AVIATION and                     )
TEAMSTERS LOCAL 700,                           )
                                               )       Jury Demand
                       Defendants.             )

       NOW COMES, the Plaintiff, BOOKER T. FLOWERS, by and through his attorneys,

Anthony J. Peraica & Associates, Ltd., complains against the City of Chicago d/b/a Chicago

Department of Aviation and Teamsters Local 700 and alleges as follows:

                                              PARTIES

       1. Plaintiff, Booker T. Flowers, is an African-American male resident in the City of

Chicago, County of Cook, State of Illinois.

       2. Defendant City of Chicago is a municipal corporation organized under the laws of the

State of Illinois, located in Cook County, Illinois.

       3. Defendant City of Chicago operates Chicago Department of Aviation, which is

responsible for the management, planning, design, operation and maintenance of the City of

Chicago’s airport system composed of Chicago O’Hare and Midway International.

       4. Upon information and belief, the Chicago Department of Aviation employees in

excess of 200 employees.

       5. TEAMSTERS LOCAL 700 (“TEAMSTERS”) is a labor organization who, at all




                                                   1
      Case: 1:18-cv-07003 Document #: 1 Filed: 10/18/18 Page 2 of 10 PageID #:1




times relevant, was the exclusive representative of the bargaining unit which includes City of

Chicago employees for the Department of Aviation.

       6. Plaintiff was a member of TEAMSTERS. TEAMSTERS had a collective bargaining

agreement with the City of Chicago Department of Aviation.

                                  JURISDICTION and VENUE

       7. Plaintiff’s claims arise under Title VII of the Civil Rights Act of 1964, 42 U.S.C.

§2000e, et. seq., as amended by the Civil Rights Act of 1991, and the American’s with

Disabilities Act. The Court has federal jurisdiction over this action pursuant to 28 U.S.C. §1331

and §1343(a)(4).

       8. The Parties and events giving rise to the Plaintiff’s claims occurred within this district

and venue is therefore proper pursuant to 28 U.S.C. §1391(b).

                                             FACTS

       9. Plaintiff Flowers has been employed by the Defendant City of Chicago in various

departments since 2005.

       10. In 2005, Plaintiff began his employment with the City of Chicago as a Pool Motor

Truck Driver for the Department of Streets and Sanitation. He was assigned number 745, which

was used in part for tracking seniority.

       11. In 2007, Plaintiff was transferred to City of Chicago’s Department of Aviation, where

he worked as a driver for approximately a year.

       12. In 2008, Plaintiff was transferred to City of Chicago’s Department of Revenue1,




1
 Upon information and belief, the Department of Revenue has had different names, including
Department of Finance, when being restructured or reorganized over the years. For purposes of
consistency in the complaint, Plaintiff will continuously refer it as the Department of Revenue.
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        Case: 1:18-cv-07003 Document #: 1 Filed: 10/18/18 Page 3 of 10 PageID #:1




where his job duties primarily consisted of booting vehicles. Plaintiff held this position until

2016.

         13. As a booter for the City of Chicago, Plaintiff was sent into some rough

neighborhoods at night to locate vehicles.

         14. One evening, Plaintiff was approached and held at knife point when attempting to

boot a vehicle.

         15. Plaintiff developed post-traumatic stress disorder as a result of a knife being held to

his throat during the course of his employment.

         16. The City of Chicago Department of Revenue switched the Plaintiff to work day time

hours after the occurrence.

         17. Plaintiff became a career service employee as a result of his time employed by the

City of Chicago.

         18. On or about April 11, 2014, the City of Chicago agreed to accommodate the Plaintiff

through reassignment to a vacant position that is “equivalent to or lower rated than your current

position.”

         19. In 2016, Plaintiff was reassigned to a Pool Motor Truck Driver position, with the

Department of Aviation, under the same number he had previously, #745.

         20. On or around June 14, 2017, Plaintiff was informed that his Pool #745 had been

retired because of a “break in service” when he became a booter and that he was assigned a new

Pool #1510.05.

         21. Upon receipt of the new Pool #1510.05, Plaintiff was laid off.

         22. The Defendants failed to recognize that there was no break in service of the Plaintiff’s

employment and failed to recognize Plaintiff having reached career service status.



                                                   3
      Case: 1:18-cv-07003 Document #: 1 Filed: 10/18/18 Page 4 of 10 PageID #:1




          23. Plaintiff asked his Union, Teamster Local 700 to assist in fixing the situation.

          24. Teamsters Local 700 failed to take any steps to rectify the situation.

          25. Plaintiff now with a Pool #1510.05 was brought back for employment for a short time

frame at the Department of Aviation and then on March 19, 2018 was notified that effective

March 31, 2018 at close of business, he would be laid off and placed in the pool as eligible for

re-assignment to another City department.

          26. Upon information and belief, plaintiff remains laid off despite other drivers from the

Pool, with less seniority, having been re-hired.

          27. On July 19, 2018, Plaintiff filed Charges of Discrimination with the Illinois

Department of Human Rights based on race and disability against both Defendant City of

Chicago Department of Aviation and Defendant Teamsters Local 700. Exhibit A and B

respectively.

          28. On July 20, 2018, the EEOC mailed its Notice of Right to Sue on the claims against

the City of Chicago. Exhibit C.

          29. On July 25, 2018, the EEOC mailed its Notice of Right to Sue on the claims against

Teamsters Local 700. Exhibit D.

      COUNT I: DISCRIMINATION BASED ON RACE (TITLE VII, 42 U.S.C. §2000e)

          30. Plaintiff repeats and re-alleges paragraphs 1 through 29 as though fully set forth

herein.

          31. Plaintiff is African-American and, as such, is a member of a protected class under

Title VII.

          32. Defendant City of Chicago’s harassment, changing of his Pool status, failing to




                                                    4
      Case: 1:18-cv-07003 Document #: 1 Filed: 10/18/18 Page 5 of 10 PageID #:1




recognize the Plaintiff as a career service employee, and failing to re-hire him from the lay off

list, in conjunction with the Defendant Teamster’s failure to enforce the CBA and grieve

plaintiff’s claims, create a hostile working environment for the Plaintiff.

          33. Upon information and belief, Plaintiff’s complaints to his supervisors and union

representatives of the mistreatment and harassment have not been acted upon.

          34. As a result of the unlawful and discriminatory actions of the Defendants, plaintiff has

been harmed financially and emotionally.

          WHEREFORE, Plaintiff prays that this Honorable Court grant judgment in his favor and

against the Defendants and grant the following relief:

          A. Enter a declaratory judgment that the practices complained of are unlawful and in

             violation of Title VII, 42 U.S.C. §2000e.

          B. Permanently enjoin the City of Chicago and Teamsters, their agents, successors,

             officers, employees, attorneys, and those acting in concert with them from engaging

             in harassment of Plaintiff based on his race and from continuing the actions shown to

             be in violation of the law.

          C. Sufficient compensation to compensate the Plaintiff for his losses.

          D. Plaintiff’s costs and disbursements of this action.

          E. Reasonable attorneys’ fees; and

          F. Such other relief as may be just and proper.

                COUNT II: DISCRIMINATION BASED ON RACE 42 U.S.C. §1981

          35. Plaintiff repeats and re-alleges paragraphs 1 through 34 as though fully set forth

herein.

          36. Plaintiff is African American, and as such is a member of a protected class under 42



                                                   5
      Case: 1:18-cv-07003 Document #: 1 Filed: 10/18/18 Page 6 of 10 PageID #:1




U.S.C. §1981.

       37. Defendants harassment of Plaintiff based on his race created a hostile working

environment for Plaintiff.

       38. Upon information and belief, Plaintiff’s complaints to his supervisors and union

representatives of the mistreatment and harassment have not been acted upon.

       39. The harassment was willful and intentional, and created an intimidating, hostile and

offensive working environment for Plaintiff.

       40. As a result of the unlawful and discriminatory actions of the Defendants, plaintiff has

been harmed financially and emotionally.

       WHEREFORE, Plaintiff prays that this Honorable Court grant judgment in his favor and

against the Defendants and grant the following relief:

           A. Enter a declaratory judgment that the practices complained of are unlawful and in

                violation of Title VII, 42 U.S.C. §2000e.

           B. Permanently enjoin the City of Chicago and Teamsters, their agents, successors,

                officers, employees, attorneys, and those acting in concert with them from

                engaging in harassment of Plaintiff based on his race and from continuing the

                actions shown to be in violation of the law.

           C. Sufficient compensation to compensate the Plaintiff for his losses.

           D. Plaintiff’s costs and disbursements of this action.

           E. Reasonable attorneys’ fees; and

           F. Such other relief as may be just and proper.

          COUNT III: VIOLATION OF ADA (Discrimination Based Upon Disability)

       41. Plaintiff repeats and re-alleges paragraphs 1 through 40 as though fully set forth



                                                 6
      Case: 1:18-cv-07003 Document #: 1 Filed: 10/18/18 Page 7 of 10 PageID #:1




herein.

          42. Plaintiff has suffered post-traumatic stress disorder (PTSD), which substantially

limits his major life activities.

          43. Upon information and belief, Plaintiff’s medical condition is considered a disability

under the Americans with Disabilities Act and subsequent amendments.

          44. Plaintiff has a history of PTSD during his employment with the Defendant City of

Chicago.

          45. Plaintiff’s impairment is not minor or transitory.

          46. Upon information and belief, Plaintiff advised his supervisors, union representatives

and the Defendants of his disability and request for accommodation.

          47. Plaintiff would be able to work with reasonable accommodations, that he not be a

booter.

          48. Plaintiff suffered adverse employment decisions—including denial of his career

service status, denial of consistent work, and lower pay—because of his disability.

          49. Based on information and belief, Plaintiff was wrongfully discriminated against and

laid off due to his disability.

          50. Based on information and belief, Plaintiff’s employment downgrade and lay off are

the result of discrimination based on Defendants’ failure to provide proper accommodations, in

violation of the ADA.

          51. Based on information and belief, the actions taken against the Plaintiff constitute and

are the result of discrimination based upon disability by the Defendants, in violation of the ADA.

          52. Plaintiff has exhausted his administrative remedies by filing Charges of

Discrimination, whereupon the EEOC issued right to sue letters.



                                                    7
      Case: 1:18-cv-07003 Document #: 1 Filed: 10/18/18 Page 8 of 10 PageID #:1




       53. As a direct and proximate result of the Defendants’ actions, Plaintiff suffered severe

financial damages, including but not limited to loss of wages, past and future, loss of benefits,

past and future, loss of career opportunities, loss of future earnings and other incidentals and

benefits of employment, damage to reputation, other compensatory damages, attorneys’ fees,

court costs, and other damages allowable under the ADA.

       54. The Defendants’ wrongful actions caused Plaintiff great mental anguish, humiliation,

anxiety, and other emotional and psychological distress.

       55. Plaintiff is entitled to the recovery of compensatory damages.

       WHEREFORE, Plaintiff asks that judgment be entered against Defendants as follows:

           A. Ordering the Defendants to provide Plaintiff a position with Defendants that is

               commensurate with his skills and experience and allows for an accommodation of

               his disability;

           B. Ordering the Defendants to pay to Plaintiff damages for loss of wages, loss of

               benefits, loss of career opportunities, loss of future earnings and other incidentals and

               benefits of employment, damage to reputation, and other compensatory damages

               resulting from Defendants’ wrongful acts, along with interest;


           C. Ordering the Defendants to pay to Plaintiff the compensatory damages incurred as

               a result of its wrongful acts;


           D. Ordering the Defendants to pay to Plaintiff the attorneys’ fees, court costs, and

               disbursements which Plaintiff has incurred and will incur as a result of Defendants’

               wrongful and willful conduct; and


           E. Awarding to Plaintiff such other relief as this Court deems proper.

     COUNT IV: BREACH OF DUTY OF FAIR REPRESENTATION BY TEAMSTERS

                                                   8
      Case: 1:18-cv-07003 Document #: 1 Filed: 10/18/18 Page 9 of 10 PageID #:1




          56. Plaintiff incorporates and re-alleges allegations 1 through 55 as if fully set forth

herein.

          57. TEAMSTERS was the exclusive representative of the bargaining unit of which

Plaintiff was a member.

          58. As the exclusive representative of Plaintiff's bargaining unit, TEAMSTERS had a

duty to fairly represent him and other members of the bargaining unit in the grievance process.

          59. In violation of its duty of fair representation, TEAMSTERS arbitrarily, with

discriminatory intent, and in bad faith failed to grieve Plaintiff's employment downgrade to a

seasonal position as oppose to a position for career service employees and failed to grieve

Plaintiff’s loss of seniority because of the Pool number change, and failed to adequately

represent the Plaintiff in their “accommodation” of the Plaintiff.

          60. As the actual and proximate result of the acts of Defendant TEAMSTERS,

Plaintiff has been forced to litigate for reemployment, lost pay, lost benefits and humiliation,

sever emotional distress and damage to his reputation.

          WHEREFORE, Plaintiff, Booker T. Flowers, requests that judgment be entered

against Defendant TEAMSTERS, as follows:

                 a. Monetary damages to compensate Plaintiff for all lost salary and benefits from

                     the time Defendant’s improper conduct commenced to the time of the award,

                     plus all accrued interest thereon;

                 b. Order the Defendant to reinstate Plaintiff’s employment with all benefits and

                     seniority as if he did not have a break in his employment;




                                                    9
    Case: 1:18-cv-07003 Document #: 1 Filed: 10/18/18 Page 10 of 10 PageID #:1




             c. Ordering the Defendant to pay Plaintiff general damages, including pain and

                suffering and emotional distress, in a sum to be ascertained at a trial of this

                matter;

             d. Order Defendant to pay Plaintiff exemplary and punitive damages in a sum to

                be ascertained at a trial of this matter;

             e. Order Defendant to pay to Plaintiff the attorneys’ fees, court costs, and

                disbursements which Plaintiff has incurred; and

             f. Order such other and further relief as this Honorable Court may deem just and

                proper.

                                                    Respectfully Submitted,

                                                    Booker T. Flowers


                                                    By: s/ Anthony J. Peraica

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                                               10
